   8:12-cv-00041-JFB-FG3 Doc # 13 Filed: 05/16/12 Page 1 of 1 - Page ID # 35



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

CYNTHIA HENDRICKS,                      )            CASE NO. 8:12-cv-00041
                                        )
                   Plaintiff,           )
                                        )
     vs.                                )           ORDER OF DISMISSAL
                                        )           WITHOUT PREJUDICE
MUTUAL OF OMAHA INSURANCE               )
COMPANY,                                )
                                        )
                   Defendant.           )

      THIS MATTER is before the Court on the parties' Joint Stipulation for Dismissal

without prejudice (Filing No. 12). Being fully advised in the premises, it is hereby

ordered:

      1.    Plaintiff's complaint is dismissed, without prejudice.

      2.    Each party shall pay their own costs and attorney fees.

      IT IS SO ORDERED.

      DATED this 16th day of May, 2012

                                       BY THE COURT:

                                       s/ Joseph F. Bataillon
                                       United States District Court Judge




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